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     Attorney for Defendant,
 6   Paulina Silva Aguilar
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                           )
10
     UNITED STATES OF AMERICA,             )            Case No.: 1:18-CR-00276-NONE
11               Respondent/Plaintiff,     )
           vs.                             )            STIPULATION REGARDING A RETURN
12   PAULINA SILVA AGUILAR,                )            OF DEFENDANT’S PASSPORTS;
                 Petitioner/Defendant.     )            ORDER
13                                         )
14                                         )            Date: February 4, 2020
                                           )
15                                         )
                                           )
16                                         )
                                           )
17   _____________________________________ )
18

19                                            STIPULATION

20          1. On December 21, 2018, Defendant Paulina Aguilar was Ordered to turn her passport

21   into the clerk’s office, and immediately complied. Passport Number 484742808.

22          2. On January 13, 2020 Ms. Aguilar was sentenced by The Hon. Lawrence J. O’Neill to

23   36 months’ probation.

24          3. In a phone call on Wednesday, January 29, 2020, Counsel was notified by United

25   States Probation Officer Nicole Wright that Ms. Aguilar’s passport was still in the vault in the

26   clerk’s office and available to give back to her, should the Court so Order the return of the

27   passport to Ms. Aguilar.

28          4. An email sent by Officer Wright on January 29, 2020 confirmed that the passport was
           STIPULATION REGARDING A RETURN OF DEFENDANT’S PASSPORT AND
                                         PROPOSED ORDER
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 1   still there. Officer Wright suggested Counsel prepare a Stipulation and Order for the return of the

 2   passport.

 3           5. Ms. Aguilar is a citizen of the United States and should not be considered to be a flight

 4   risk.

 5           6. Based on the above, the Parties would so Stipulate and request the Court Order the

 6   following:

 7                                                ORDER

 8            Good Cause Appearing, This Court hereby Orders the Clerk’s Office for the United

 9   States District Court for the Eastern District of California return Paulina Aguilar’s passport to

10   Ms. Aguilar, forthwith.

11                                                 IT IS SO STIPULATED

12

13   Dated February 4, 2020                        _/s/_KAREN A. ESCOBAR____________
                                                   KAREN A. ESCOBAR
14
                                                   Assistant United States Attorney
15

16   Dated February 4, 2020                        __/s/ MICHAEL W. BERDINELLA______
                                                   MICHAEL W. BERDINELLA
17                                                 Counsel for Defendant Paulina Silva-Aguilar
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19
     IT IS SO ORDERED.
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21       Dated:    February 4, 2020
                                                        UNITED STATES DISTRICT JUDGE
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             STIPULATION REGARDING A RETURN OF DEFENDANT’S PASSPORT AND
                                  PROPOSED ORDER
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